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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


ELISABETH CLEVELAND, on behalf of herself
and all others similarly situated,                           Case No. 20-cv-1906(WMW/KMM)
                              Plaintiff,
       v.                                                 JOINT STIPULATION TO STAY
                                                          DEFENDANT WHIRLPOOL
                                                          CORPORATION’S ANSWER DEADLINE
WHIRLPOOL CORPORATION,

                              Defendant.

       IT IS HEREBY STIPULATED AND AGREED by the parties, through their respective

counsel, subject to the approval of the Court, that Defendant Whirlpool Corporation’s deadline to

answer Plaintiff’s First Amended Class Action Complaint (Doc. 25) shall be stayed pending

preliminary and final approval of the parties’ settlement of this matter together with the

Coordinated Actions. The following good cause exists for granting the stipulated stay:

       1.      The parties have engaged in resolution negotiations over the course of several

months starting with a mediation on April 27, 2021 and continuing with the assistance of the

mediator through July 29, 2021, when the parties reached an agreement to resolve this matter

together with the Coordinated Actions through a nationwide class settlement.

       2.      On July 27, 2021, the Court entered its order granting in part and denying in part

Whirlpool’s Motion to Dismiss (Doc. 58), resulting in Whirlpool’s deadline to answer the

remaining claims by August 10, 2021.

       3.      The parties are presently planning the orderly presentation of the class settlement

for preliminary approval to resolve this matter together with the Coordinated Actions, and will
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submit a status report to the Court by August 10, 2021, advising of the status of that planning and

the proposed schedule to present the settlement for preliminary approval.

       4.      Given the imminent settlement approval proceedings and the likelihood that

Plaintiffs in the Coordinated Actions will file a consolidated amended complaint further

coordinating the actions for resolution purposes, the parties are in agreement that Whirlpool’s

deadline to answer the First Amended Class Action Complaint should be stayed.

Dated: August 3, 2021

 s/ Andrew M. Unthank                                 s/ Harper Segui
 WHEELER TRIGG O’DONNELL LLP                          Rachel Soffin
 Galen D. Bellamy                                     (Admitted pro hac vice)
 (Admitted pro hac vice)                              Harper Segui
 Andrew M. Unthank                                    (Admitted pro hac vice)
 (Admitted pro hac vice)                              MILBERG COLEMAN BRYSON
 370 Seventeenth Street, Suite 4500                   PHILLIPS GROSSMAN, LLP
 Denver, CO 80202                                     800 S. Gay Street, Suite 1100
 (303) 244-1800                                       Knoxville, TN 37929
 bellamy@wtotrial.com                                 T: 865-247-0080
 unthank@wtotrial.com                                 F: 865-522-0049
                                                      rsoffin@milberg.com
 WINTHROP & WEINSTINE, P.A.                           hsegui@milberg.com
 Thomas H. Boyd, #0200517
 Kyle R. Kroll, #0398433                              Michelle J. Looby
 Mary S. Riverso, #0400224                            GUSTAFSON GLUEK PLLC
 225 South Sixth Street, Suite 3500                   Canadian Pacific Plaza
 Minneapolis, MN 55402                                120 South 6th Street, Suite 2600
 (612) 604-6400                                       Minneapolis, MN 55402
 tboyd@winthrop.com                                   Telephone: (612) 333-844
 kkroll@winthrop.com                                  mlooby@gustafsongluek.com
 mriverso@winthrop.com

 Attorneys for Defendant, Whirlpool                   Attorneys for Plaintiff and Putative
 Corporation                                          Class




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